
In re Miller, Marvin; — Defendant(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “B”, No. 251-951.
Granted. Relator’s sentence is vacated and this case is remanded for resentencing with relator present according to the procedures set forth in State v. Husband, 593 So.2d 1257 (La.1992); State v. Desdunes, 579 So.2d 452 (La.1991). If the district court cannot determine the intent of the original sentencing judge, the court should make an independent determination of an appropriate sentence, not to exceed the original in term of years, to be served without benefit of parole, in accord with the sentencing guidelines promulgated by the Louisiana Sentencing Commission.
